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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         NEWNAN DIVISION

BANK OF THE OZARKS,                         )
                                            )
      Plaintiff,                            )      Civil Action
                                            )      File No. 3:14-cv-00092-TCB
v.                                          )
                                            )
WALTER HYNES BARNES                         )
and LISA H. BARNES,                         )
                                            )
      Defendants.                           )

ORDER DISCHARGING RECEIVER, TERMINATING RECEIVERSHIP,
                  AND CLOSING CASE

      IT APPEARING TO THIS COURT that on June 26, 2014, this Court

entered an “Order Appointing Receiver” (the “Receivership Order”) [ECF No. 9]

appointing Joseph L. Briner (the “Receiver”) as Receiver for certain real property

then owned by Defendant Walter Hynes Barnes (“Hynes Barnes”) and securing

“Note No. 1” as that term is defined in Plaintiff’s Complaint, as specifically

identified on Exhibit “A” to the Receivership Order (the “Property”), so as to

create a receivership estate to be managed by the Receiver pending further order of

this Court (the “Receivership”); and
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      IT FURTHER APPEARING TO THIS COURT that on or about

September 19, 2014, the Court entered a Consent Final Judgment on Note No. 1

[ECF No. 17]; and

      IT FURTHER APPEARING TO THIS COURT that the Receivership

Order specifically provides for and permits the foreclosure on the real property

collateral securing Note No. 1 by Plaintiff under the terms of Plaintiff’s Loan

Documents, see ECF No. 9 at ¶¶ 15-16, and that the Receivership Order further

provides in pertinent part that, “In the event of a foreclosure by Plaintiff, the

receivership created by this Order and the authority of the Receiver to act in

connection with the operation, management, and control of so much of the

property foreclosed upon shall cease.” Id. at ¶ 16; and

      IT FURTHER APPEARING TO THIS COURT that on November 4,

2014, Plaintiff conducted a foreclosure sale of the real property collateral securing

Note No. 1 (the “Foreclosure”), that pursuant to the terms of the Receivership

Order, the Receivership ceased as a result of the Foreclosure, and that Mr. Briner

has complied with his obligations found in paragraph 16 of the Receivership Order

and otherwise; and

      IT FURTHER APPEARING TO THIS COURT that this Court has

previously entered final judgment on all claims in this action, see ECF Nos. 15 and

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17, and that the only remaining item requiring the Court’s attention prior to closing

this action, is the release of the Receiver; and

       IT FURTHER APPEARING TO THIS COURT that on or about

November 18, 2014, Plaintiff, Bank of the Ozarks, filed with this Court its “Status

Report and Motion to Terminate Receivership” (the “Motion”), and served the

Motion on all parties through the Court’s electronic notice and filing system; and

       IT FURTHER APPEARING TO THIS COURT that no parties have filed

an objection to the relief that Plaintiff seeks in the Motion; now, therefore

       THIS COURT having considered the Motion and the entire record in this

case, this Court makes the following findings of fact:

       1.       Reasonable notice of the Motion has been provided to all interested

parties.

       2.       The Receiver has managed, preserved, protected, and maintained the

Property and the other assets of the Receivership Estate in a reasonable, prudent,

diligent, and efficient manner.

       3.       The Foreclosure resulted in the conveyance of the Property in fee

simple to Plaintiff. Accordingly, the Receiver no longer has any assets to be

administered, thus defeating the continued purpose of the Receivership.




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      4.     The Receiver has fully performed and discharged his duties,

responsibilities, and obligations under the Receivership Order, and the grounds for

the Receivership no longer exist.

      Accordingly, it is hereby

      ORDERED, ADJUDGED, AND DECREED as follows:

      1.     The Motion is GRANTED.

      2.     Joseph L. Briner is hereby discharged of all duties, responsibilities

and obligations, and liabilities in connection with his administration of the

Property, the Receivership, and the Receivership Estate.

      3.     The Receivership imposed by this Court under the Receivership Order

is hereby terminated, and the Receivership Estate is closed.

      4.     The Receiver, and all persons and entities engaged or employed by the

Receiver, are, and shall forever be, discharged of any liability arising from or out

of the Receivership to any parties whatsoever.

      5.     To the extent any dispute arises concerning the Receiver’s

administration of the assets entrusted to him, or to the extent that any person or

entity seeks to pursue or assert any claim or action against the Receiver arising out

of, or related to, his duties as Receiver in this case, this Court retains exclusive

jurisdiction to hear and resolve any such disputes or claims.

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      6.     There being nothing further to decide, this action is ORDERED

CLOSED.

      SO ORDERED, this _____
                        21st day of _______________,
                                       November      2014.


                                           ____________________________
                                           Timothy C. Batten, Sr.
                                           United States District Judge
Prepared and presented by:


  /s/ John J. Richard
JOHN J. RICHARD
Georgia Bar No. 603989
jrichard@taylorenglish.com
SEAN R. SMITH
Georgia Bar No. 663368
ssmith@taylorenglish.com
DONALD P. BOYLE, JR.
Georgia Bar No. 073519
dboyle@taylorenglish.com

TAYLOR ENGLISH DUMA LLP
1600 Parkwood Circle, Suite 400
Atlanta, Georgia 30339
Telephone: (770) 434-6868
Facsimile: (770) 434-7376

Attorneys for Plaintiff,
Bank of the Ozarks




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